Case: 5:22-cr-00105-DCR-MAS Doc #: 35 Filed: 05/19/23 Page: 1 of 5 - Page ID#: 123




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   LEXINGTON

 CASE NO. 22-105-DCR

 UNITED STATES OF AMERICA                                                       PLAINTIFF


 V.              UNITED STATES’ SENTENCING MEMORANDUM


 DONALD EUGENE CAUDY, III                                                     DEFENDANT

                                        * * * * *

        The Defendant pleaded guilty to using a four-year-old girl to create numerous

 sexually explicit images, in violation of 18 U.S.C. § 2251(a). [R. 31: Plea Agreement at

 ¶ 3.] The Presentence Report calculates that the Defendant’s guideline range of

 imprisonment is life. [PSR ¶ 49.] However, the statutory maximum for the Defendant’s

 crime is 360 months imprisonment; therefore, the applicable guideline range is 360

 months of imprisonment. Id. For the reasons set forth below, a guideline sentence of 360

 months is sufficient, but not greater than necessary, to achieve the sentencing objectives

 of 18 U.S.C. §3553(a).

        A substantial sentence is necessary “to reflect the seriousness of the offense, to

 promote respect for the law, and to provide just punishment for the offense.” 18 U.S.C. §

 3553(a)(2)(A). In this case, Caudy pleaded guilty to producing sexually explicit images

 of a victim in his care. Caudy also admitted to sexually assaulting the victim in ways

                                              1
Case: 5:22-cr-00105-DCR-MAS Doc #: 35 Filed: 05/19/23 Page: 2 of 5 - Page ID#: 124




 even more significant than what is pictured in the images. While the creation of child

 sexual abuse material is always horrific, the added betrayal and abuse of trust caused by

 the relationship between Caudy and his victim heightens the seriousness of the offense.

 The victim will live with the impact of this crime for the remainder of her life. In

 addition to the lifelong impact the victim will suffer because of the abuse by Caudy, the

 impact may be even more significant because Caudy distributed the images he created of

 the abuse. As a result, the child sexual abuse images may live forever on the internet. See

 New York v. Ferber, 458 U.S. 747, n.10 (1982) (“Because the child’s actions are reduced

 to a recording, the pornography may haunt him in future years, long after the original

 misdeed took place.) While there is no current evidence that the images were further

 distributed by the individual to whom they were sent, only time will reveal the true extent

 of the potential distribution. Certainly, Caudy had no knowledge of what would happen

 with the images once they left his possession and control.

        The effects of Caudy’s crimes are not limited to the victim of the offense of

 conviction. The mother of his victim, who believed Caudy was a safe person to care for

 her child, will forever grapple with the effects of such a devastating betrayal. In addition,

 the victims whose images he received via the internet will continue to suffer the effects of

 knowing that images of their abuse are being used for the sexual gratification of

 individuals like Caudy. Moreover, there is a societal harm caused by Caudy’s conduct.

 “As victimized children reach adulthood, they often struggle to develop healthy

 relationships, and to find their place in society. In this way, their burdens are shared by

 all.” United States v. Faulkner, 926 F.3d 266, 272 (6th Cir. 2019) (citations omitted).

                                               2
Case: 5:22-cr-00105-DCR-MAS Doc #: 35 Filed: 05/19/23 Page: 3 of 5 - Page ID#: 125




        A substantial sentence is also required to “to protect the public from further crimes

 of the defendant.” 18 U.S.C. § 3553(a)(2)(C). While Caudy does not have a significant

 criminal history, the ongoing nature of Caudy’s conduct demonstrates a sustained sexual

 interest in children. This, combined with his willingness to act on that interest and betray

 those closest to him demonstrates the danger Caudy poses to children and to others.

        A substantial sentence is also needed “to afford adequate deterrence to criminal

 conduct.” 18 U.S.C. § 3553(a)(2)(B). A sentence of imprisonment of 360 months would

 be a clear warning to others considering similar conduct. “General deterrence is crucial

 in the child pornography context.” United States v. Camiscione, 591 F.3d 823, 834 (6th

 Cir. 2010). Although producers, traders and collectors of child sexual abuse material may

 have a compulsion for this material, they may still be deterred by law enforcement.

 Learning of Caudy’s substantial sentence will perhaps reduce the abuse of children by

 others in this district who would consider producing, receiving, possessing and trading

 such material. See United States v. Widmer, 511 F. App’x 506, 511-12 (6th Cir. 2013)

 (“sentence was necessary to send a signal to would-be offenders that receipt of child

 pornography carries significant consequences”).

        Finally, any sentence should consider the need for “restitution to any victims of

 the offense.” 18 U.S.C. § 3553(a)(7). The representative for the victim in this case and

 Caudy have reached an agreed proposed restitution amount of $5000. This amount

 reflects a good faith effort to predict the future counseling costs of the victim. Although

 the victim’s current counseling expenses are paid by insurance, both parties agree it is

 likely the need for counseling for the victim will extend into adulthood and that she is

                                               3
Case: 5:22-cr-00105-DCR-MAS Doc #: 35 Filed: 05/19/23 Page: 4 of 5 - Page ID#: 126




 entitled to restitution for this future expenses. Moreover, one victim of images that were

 possessed, received, or distributed by Caudy via the internet has submitted a request for

 restitution not less than $3,000. This victim is entitled to restitution pursuant to the

 Defendant’s plea agreement and the requests should be imposed at the time of sentencing.

 [See R. 31: Plea Agreement ¶ 5(j).]

                                       CONCLUSION

        The United States respectfully requests the Court to impose a guideline sentence

 of 360 months imprisonment, to be followed by at least twenty years of supervised

 release.


                                                    Respectfully Submitted,

                                                    CARLTON S. SHIER, IV
                                                    UNITED STATES ATTORNEY

                                            By:     s/ Erin M. Roth
                                                    Assistant United States Attorney
                                                    260 W. Vine Street, Suite 300
                                                    Lexington, Kentucky 40507-1612
                                                    (859) 685-4872
                                                    Erin.Roth@usdoj.gov




                                               4
Case: 5:22-cr-00105-DCR-MAS Doc #: 35 Filed: 05/19/23 Page: 5 of 5 - Page ID#: 127




                             CERTIFICATE OF SERVICE

        On May 19, 2023, I electronically filed this document through the ECF system,

 which will send notice of electronic filing to all counsel of record.


                                                   s/ Erin M. Roth
                                                   Assistant United States Attorney




                                               5
